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to dismiss the action for insufficient service of process, on the ground that New
Day is an unrepresented entity in violation of Local Rule 83-2.2.2, and for failure
to state a claim on several grounds, including lack of standing, failure to allege
copyright registration (among other facts), and res judicata.

 II.     LEGAL STANDARD

       Fed. R. Civ. Proc. (“Rule”) 8 requires a plaintiff to present a “short and plain
statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.
8(a)(2). Under Rule 12(b)(6), a defendant may move to dismiss a pleading for
“failure to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6).

       To defeat a Rule 12(b)(6) motion to dismiss, the complaint must provide
enough factual detail to “give the defendant fair notice of what the. . . claim is and
the grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
(2007). The complaint must also be “plausible on its face,” that is, it “must contain
sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible
on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550
U.S. at 570). A plaintiff’s “factual allegations must be enough to raise a right to
relief above the speculative level.” Twombly, 550 U.S. at 555. “The plausibility
standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer
possibility that a defendant has acted unlawfully.” Id. Labels, conclusions, and “a
formulaic recitation of the elements of a cause of action will not do.” Twombly,
550 U.S. at 555.

       A complaint may be dismissed under Rule 12(b)(6) for the lack of a
cognizable legal theory or the absence of sufficient facts alleged under a
cognizable legal theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th
Cir. 1988). When ruling on a Rule 12(b)(6) motion, “a judge must accept as true all
of the factual allegations contained in the complaint.” Erickson v. Pardus, 551 U.S.
89, 94 (2007). But a court is “not bound to accept as true a legal conclusion
couched as a factual allegation.” Iqbal, 556 U.S. at 678 (2009) (internal quotation
marks omitted).

       The court generally may not consider materials other than facts alleged in
the complaint and documents that are made a part of the complaint. Anderson v.
Angelone, 86 F.3d 932, 934 (9th Cir. 1996). However, a court may consider
materials if (1) the authenticity of the materials is not disputed and (2) the plaintiff
has alleged the existence of the materials in the complaint or the complaint
“necessarily relies” on the materials. Lee v. City of Los Angeles, 250 F.3d 668,

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688 (9th Cir. 2001) (citation omitted). The court may also take judicial notice of
matters of public record outside the pleadings and consider them for purposes of
the motion to dismiss. Mir v. Little Co. of Mary Hosp., 844 F.2d 646, 649 (9th Cir.
1988); Lee, 250 F.3d at 689-90.

III.     DISCUSSION

       All of Swift’s grounds for dismissal appear to be meritorious, and Plaintiffs
did not respond to most of them. The Court will therefore grant the motion insofar
as it was unopposed. Furthermore, because Plaintiff’s failure to allege copyright
registration, and res judicata, are dispositive of the entire action, the Court
specifically addresses these alternative grounds and will not address the others.

       A. The Motion Is GRANTED Based On Grounds Plaintiffs Did Not
          Oppose.

      Plaintiffs’ opposition appears to respond only to Swift’s service of process
argument. Pursuant to Local Rule 7-12, the Court construes Plaintiffs’ failure to
address the other grounds raised in the Motion as consenting to dismissal on those
grounds. See Local Rule 7-12 (failure to oppose a motion may be deemed consent).
The Motion is therefore GRANTED for lack of standing and for failure to state a
claim on multiple bases, because these grounds were not opposed.

     The Court will nevertheless address, in the alternative, two additional
grounds for dismissal under Rule 12(b)(6).

    B. Plaintiffs Have Failed To Allege A Registered Copyright.
       Subject to exceptions for authors of works of visual art which are not
applicable here, “no civil action for infringement of the copyright in any United
States work shall be instituted until preregistration or registration of the copyright
claim has been made. . .” 17 U.S.C. § 411(a). Here, Plaintiffs allege only that
Graham applied for registration at some unspecified time. See FAC ¶ 10. Plaintiffs
do not allege that they have completed preregistration1, or that the copyright has

1
  “Preregistration” permits a “copyright owner preparing to distribute a work of a
type vulnerable to predistribution infringement—notably, a movie or musical
composition” to secure a form of interim recognition of a copyright the owner will
seek to register. See Fourth Estate Pub. Benefit Corp. v. Wall-Street.com, LLC, 139
S. Ct. 881, 888 (2019) (discussing 17 U.S.C. § 408(f)). To be clear, preregistration

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been registered. And, the Supreme Court has rejected the notion that merely
applying for registration satisfies § 411(a): “‘registration . . . has been made’
within the meaning of 17 U.S.C. § 411(a) not when an application for registration
is filed, but when the Register has registered a copyright after examining a
properly filed application.” Fourth Estate Pub. Benefit Corp. v. Wall-Street.com,
LLC, 139 S. Ct. 881, 892 (2019).

       Plaintiffs have alleged only that Graham applied for copyright registration,
which is insufficient to pursue a claim for copyright infringement. Furthermore, by
alleging only that Graham applied for registration, it follows that he has not
secured copyright registration. Given the facts Plaintiffs have affirmatively pled,
the lack of registration cannot be cured. Nor in their opposition do Plaintiffs
suggest it could be cured. This deficiency is fatal and amendment would be futile,
so the action will be dismissed with prejudice.

    C. Res Judicata Bars Plaintiffs’ Claims

       Res judicata applies to bar subsequent claims when there is “(1) an identity
of claims; (2) a final judgment on the merits; and (3) identity or privity between
parties.” Stewart v. U.S. Bancorp, 297 F.3d 953, 956 (9th Cir. 2002). Graham filed
the same claims against Swift in three prior actions, some of which included the
other defendants named herein: Braham v. Sony/ATV Music Publ’g., No. 2:15-cv-
8422-MWF-GJSx, 2015 WL 7074571 (C.D. Cal. Nov. 10, 2015) (“Graham I”);
Graham v. Swift, No. 2:18-cv-00810-MWF-GJSx (“Graham II”); Graham v. Swift,
No. 2:18-cv-09071-MWF-GJSx (“Graham III”)2. All of these cases were related
and transferred Judge Fitzgerald. In violation of Court procedure, Graham failed to
indicate on the civil cover sheet for this action that it was related to the prior three
actions. All three of the prior actions were dismissed, and Graham III was
dismissed with prejudice after Graham failed to effect service after multiple court
orders. See Graham III, Order Dismissing Action With Prejudice (Dkt. No. 46).



does not refer to the period when the copyright registration application is pending;
rather, preregistration is a different process from registration, with its own
requirements and timeline. See 17 U.S.C. § 408(f). Only once “preregistration . . .
has been made,” may the copyright claimant may institute a suit for infringement.
17 U.S.C. § 411(a).
2
  The Court GRANTS Swift’s Request for Judicial Notice (Dkt. No. 11-2) and
takes notice of the dockets and orders issued in the three prior cases.

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             Plaintiffs do not dispute that this action and Graham III assert the same
      claims, that there was a final judgment on the merits in Graham III, and identity or
      privity between the parties, thus conceding the elements of res judicata. Upon
      review of the complaints in both cases, the Court also finds that the elements are
      satisfied here. The action is therefore dismissed as barred by res judicata, a bar that
      cannot be overcome by amendment.

         D. Admonishment and Warning To Graham Regarding Litigation
            Misconduct.

              Defendants have pointed out several instances of misconduct by Graham, the
      most egregious being that he fraudulently added the name of a law firm and some
      of its attorneys to the cover page of Dkt. No 27, presumably to give the Court the
      impression that he and/or New Day had retained counsel. See Reply (discussing
      this and other misconduct). This conduct plainly violates Rule 11. Furthermore,
      this along with the prior three identical cases raise the issue of whether Graham is a
      vexatious litigant. See Local Rule 83-8.

            Out of an abundance of caution, the Court at this juncture declines to issue to
      Graham an order to show cause why he should not be sanctioned under Rule 11 or
      why he should not be declared a vexatious litigant. Nevertheless, the Court
      admonishes Graham for this conduct and cautions him that should he engage in
      similar conduct in the future before this or another Court, he risks being sanctioned
      and/or being declared a vexatious litigant. The Court urges Graham to avoid
      conduct that would result in those consequences.

IV.      CONCLUSION

           For the foregoing reasons, the Motion to Dismiss is GRANTED. No
      amendment could cure the deficiencies discussed above, so this action is hereby
      DISMISSED WITH PREJUDICE.

            This Order shall constitute notice of entry of judgment pursuant to Federal
      Rule of Civil Procedure 58. Pursuant to Local Rule 58-6, the Court ORDERS the
      Clerk to treat this Order, and its entry on the docket, as an entry of judgment.

              IT IS SO ORDERED.




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